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             IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF ARKANSAS
                           WESTERN DIVISION




UNITED STATES OF AMERICA

vs.                                      NO. 4:09CR00086-007 SWW

SERGIO BERBER




                           ORDER OF DISMISSAL


      Pending before the Court are the government's motions for dismissal

of the indictment against defendant, Sergio Berber, pursuant to Rule

48(a) of the Federal Rules of Criminal Procedure.

      IT IS ORDERED that the government’s motions [docs #47 & #52] for

dismissal of the indictment against the above-named defendant be, and

they are hereby granted, and the indictment pending against defendant

Sergio Berber in the above case hereby is dismissed without prejudice.

      DATED this 14th day of May 2009.



                                         /s/Susan Webber Wright

                                         UNITED STATES DISTRICT JUDGE
